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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                                                    2:05 CR 19-6
                                                                               (MAXWELL)

 THOMAS ALLEN HADDIX,

                      Defendant.

                                          ORDER

        By Order entered July 26, 2005, the Court referred any pre-trial motions to be filed

 on behalf of either the United States of America or the Defendant in the above-styled

 criminal action to United States Magistrate Judge John S. Kaull, pursuant to 28 U.S.C. §§

 636(b)(1)(A) and (B), and authorized Magistrate Judge Kaull to conduct any necessary

 hearings in resolving said motions or in preparation for submission of proposed findings of

 fact and recommendation for disposition.

        On August 16, 2005, Defendant filed his Motion To Suppress. The Defendant’s

 Motion To Suppress sought the suppression of all evidence seized during a warrantless

 search of his camper.      The Government filed a response to Defendant’s Motion to

 Suppress on August 30, 2005. The Docket in the above-styled criminal action reflects that

 a hearing on the Defendant’s Motion To Suppress was conducted by United States

 Magistrate Judge John S. Kaull on September 14, 2005. Thereafter, on September 28,

 2005, Magistrate Judge Kaull entered his Report And Recommendation, wherein he

 recommends that the Court deny Defendant’s Motion To Suppress as to the evidence

 found outside the camper, but grant Defendant’s Motion To Suppress as to the evidence

 found inside the camper.
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          Magistrate Kaull’s Report And Recommendation advised the parties, pursuant to 28

 U.S.C. § 636(b)(1), that any objections to said Report And Recommendation which were

 not filed, in writing, with the Clerk of Court within ten (10) days after being served with a

 copy of said Opinion/Report And Recommendation, were waived. No objections have been

 filed.

          The Court has reviewed the record before it and has conducted a de novo review

 of all matters before Magistrate Judge John S. Kaull in considering Defendant Haddix’s

 Motion To Suppress. Based upon its review, it appears to the Court that Magistrate Judge

 Kaull’s Report And Recommendation accurately reflects the law applicable to the facts and

 circumstances before the Court in the above-styled criminal action. Accordingly, it is

          ORDERED that the Report And Recommendation entered by United States

 Magistrate Judge Kaull in the above-styled criminal action be, and the same hereby is,

 ACCEPTED in whole. It is further

          ORDERED that Defendant Haddix’s Motion To Suppress be, and the same hereby

 is, DENIED in part as to evidence found outside of the camper, and GRANTED in part as

 to evidence found inside the camper, in accordance with the recommendation of Magistrate

 Judge Kaull. Accordingly, it is further

          ORDERED that the evidence found inside Defendant Haddix’s camper shall be, and

 the same hereby is, SUPPRESSED in accordance with the recommendation of Magistrate

 Judge Kaull.

          The Clerk of Court is directed to transmit copies of this order to counsel of record.

          ENTER: November 8th , 2005

                                                        _     _/s/ Robert E. Maxwell       __
                                                            United States District Judge

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